Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 1 of 30. PagelD #: 386

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Ohio
RIK IOF Millennia Buck Portfolio, LLC; Lobo Feroz, )
LLC, and Jonaton Grassi )
)
)
Plaintiff(s)
V. ) Civil Action No. 1:25-cv-00561-SO
Brandegee Garden NY, LLC, et al. )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

Brandegee Garden NY, LLC

c/o Millennia Housing Development, Ltd.
4000 Key Tower, 127 Public Square
Cleveland, Ohio 44114

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Joshua A. Klarfeld

UB GREENSFELDER LLP
1660 W. 2nd Street, Suite 1100
Cleveland, OH 44113
jklarfeld@ubglaw.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

SANDY OPACICH, CLERK OF COURT

Date: 03/24/2025 /s/ Christopher Blair

Signature of Clerk or Deputy Clerk

Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 2 of 30. PagelD #: 387

AO 440 (Rev. 06/12) Summons im a Civil Action (Page 2)

Civil Action No. 1:25-cv-00561-SO

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)

On (date) ; Or

0 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

On (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) . who is

designated by law to accept service of process on behalf of (name of organization)

On (date) ; Or
© I returned the summons unexecuted because : or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 3 of 30. PagelD #: 388

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Ohio
RIK IOF Millennia Buck Portfolio, LLC; Lobo Feroz, )
LLC, and Jonaton Grassi )
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Plaintiff(s)
V. ) Civil Action No. 1:25-cv-00561-SO
Brandegee Garden NY, LLC, et al. )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

Brandegee Garden NY MM, LLC

c/o Millennia Housing Development, Ltd.
4000 Key Tower, 127 Public Square
Cleveland, Ohio 44114

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Joshua A. Klarfeld

UB GREENSFELDER LLP
1660 W. 2nd Street, Suite 1100
Cleveland, OH 44113
jklarfeld@ubglaw.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
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SANDY OPACICH, CLERK OF COURT

Date: 03/24/2025 /s/ Christopher Blair

Signature of Clerk or Deputy Clerk

Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 4 of 30. PagelD #: 389

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.
1:25-cv-00561-SO

PROOF OF SERVICE
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Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 5 of 30. PagelD #: 390

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Ohio
RIK IOF Millennia Buck Portfolio, LLC; Lobo Feroz, )
LLC, and Jonaton Grassi )
)
)
Plaintiff(s)
V. ) Civil Action No.1:25-cv-00561-SO
Brandegee Garden NY, LLC, et al. )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

Buck Apartments NY, LLC

c/o Millennia Housing Development, Ltd.
4000 Key Tower, 127 Public Square
Cleveland, Ohio 44114

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Joshua A. Klarfeld

UB GREENSFELDER LLP
1660 W. 2nd Street, Suite 1100
Cleveland, OH 44113
jklarfeld@ubglaw.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
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SANDY OPACICH, CLERK OF COURT

Date: 03/24/2025 /s/ Christopher Blair

Signature of Clerk or Deputy Clerk

Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 6 of 30. PagelD #: 391

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.
1:25-cv-00561-SO

PROOF OF SERVICE
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Printed name and title

Server’s address

Additional information regarding attempted service, etc:
Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 7 of 30. PagelD #: 392

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Ohio
RIK IOF Millennia Buck Portfolio, LLC; Lobo Feroz, )
LLC, and Jonaton Grassi )
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Plaintiff(s)
V. ) Civil Action No. 1:25-cv-00561-SO
Brandegee Garden NY, LLC, et al. )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

Buck Apartments NY MM, LLC

c/o Millennia Housing Development, Ltd.
4000 Key Tower, 127 Public Square
Cleveland, Ohio 44114

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Joshua A. Klarfeld

UB GREENSFELDER LLP
1660 W. 2nd Street, Suite 1100
Cleveland, OH 44113
jklarfeld@ubglaw.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

SANDY OPACICH, CLERK OF COURT

Date: 93/24/2025 /s/ Christopher Blair

Signature of Clerk or Deputy Clerk

Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 8 of 30. PagelD #: 393

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.
1:25-cv-00561-SO

PROOF OF SERVICE
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Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 9 of 30. PagelD #: 394

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Ohio
RIK IOF Millennia Buck Portfolio, LLC; Lobo Feroz, )
LLC, and Jonaton Grassi )
)
)
Plaintiff(s)
Vv. ) Civil Action No. 1:25-cv-00561-SO
Brandegee Garden NY, LLC, et al. )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

Cooper Apartments NY, LLC

c/o Millennia Housing Development, Ltd.
4000 Key Tower, 127 Public Square
Cleveland, Ohio 44114

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Joshua A. Klarfeld

UB GREENSFELDER LLP
1660 W. 2nd Street, Suite 1100
Cleveland, OH 44113
jklarfeld@ubglaw.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

SANDY OPACICH, CLERK OF COURT

Date; 99/24/2025 /s/ Christopher Blair

Signature of Clerk or Deputy Clerk

Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 10 of 30. PagelD #: 395

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.
1:25-cv-00561-SO

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

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My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 11 of 30. PagelD #: 396

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Ohio
RIK IOF Millennia Buck Portfolio, LLC; Lobo Feroz, )
LLC, and Jonaton Grassi )
)
)
Plaintiff(s)
V. ) Civil Action No. 1:25-cv-00561-SO
Brandegee Garden NY, LLC, et al. )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

Cooper Apartments NY MM, LLC

c/o Millennia Housing Development, Ltd.
4000 Key Tower, 127 Public Square
Cleveland, Ohio 44114

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Joshua A. Klarfeld

UB GREENSFELDER LLP
1660 W. 2nd Street, Suite 1100
Cleveland, OH 44113
jklarfeld@ubglaw.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

SANDY OPACICH, CLERK OF COURT

Date: 03/24/2025 /s/ Christopher Blair

Signature of Clerk or Deputy Clerk

Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 12 of 30. PagelD #: 397

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.
1:25-cv-00561-SO

PROOF OF SERVICE
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Printed name and title

Server’s address

Additional information regarding attempted service, etc:
Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 13 of 30. PagelD #: 398

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Ohio
RIK IOF Millennia Buck Portfolio, LLC; Lobo Feroz, )
LLC, and Jonaton Grassi )
)
)
Plaintiff(s)
V. ) Civil Action No. 1:25-cv-00561-SO
Brandegee Garden NY, LLC, et al. )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

Genesee Tower NY, LLC

c/o Millennia Housing Development, Ltd.
4000 Key Tower, 127 Public Square
Cleveland, Ohio 44114

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Joshua A. Klarfeld

UB GREENSFELDER LLP
1660 W. 2nd Street, Suite 1100
Cleveland, OH 44113
jklarfeld@ubglaw.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

SANDY OPACICH, CLERK OF COURT

Date; 99/24/2025 /s/ Christopher Blair

Signature of Clerk or Deputy Clerk

Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 14 of 30. PagelD #: 399

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.
1:25-cv-00561-SO

PROOF OF SERVICE
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Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 15 of 30. PagelD #: 400

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Ohio
RIK IOF Millennia Buck Portfolio, LLC; Lobo Feroz, )
LLC, and Jonaton Grassi )
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Plaintiff(s)
V. ) Civil Action No. 1:25-cv-00561-SO
Brandegee Garden NY, LLC, et al. )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

Genesee Tower NY MM, LLC

c/o Millennia Housing Development, Ltd.
4000 Key Tower, 127 Public Square
Cleveland, Ohio 44114

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Joshua A. Klarfeld

UB GREENSFELDER LLP
1660 W. 2nd Street, Suite 1100
Cleveland, OH 44113
jklarfeld@ubglaw.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

SANDY OPACICH, CLERK OF COURT

Date: 93/24/2025 /s/ Christopher Blair

Signature of Clerk or Deputy Clerk

Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 16 of 30. PagelD #: 401

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.
1:25-cv-00561-SO

PROOF OF SERVICE
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Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 17 of 30. PagelD #: 402

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Ohio
RIK IOF Millennia Buck Portfolio, LLC; Lobo Feroz, )
LLC, and Jonaton Grassi )
)
)
Plaintiff(s)
V. ) Civil Action No. 1:25-cv-00561-SO
Brandegee Garden NY, LLC, et al. )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

Knamm Apartments NY, LLC

c/o Millennia Housing Development, Ltd.
4000 Key Tower, 127 Public Square
Cleveland, Ohio 44114

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Joshua A. Klarfeld

UB GREENSFELDER LLP
1660 W. 2nd Street, Suite 1100
Cleveland, OH 44113
jklarfeld@ubglaw.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

SANDY OPACICH, CLERK OF COURT

Date: 03/24/2025 /s/ Christopher Blair

Signature of Clerk or Deputy Clerk

Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 18 of 30. PagelD #: 403

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.
1:25-cv-00561-SO

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Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 19 of 30. PagelD #: 404

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Ohio
RIK IOF Millennia Buck Portfolio, LLC; Lobo Feroz, )
LLC, and Jonaton Grassi )
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Plaintiff(s)
V. ) Civil Action No. 1:25-cv-00561-SO
Brandegee Garden NY, LLC, et al. )
)
)
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Defendant(s) )

SUMMONS IN A CIVIL ACTION

Knamm Apartments NY MM, LLC

c/o Millennia Housing Development, Ltd.
4000 Key Tower, 127 Public Square
Cleveland, Ohio 44114

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
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the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Joshua A. Klarfeld

UB GREENSFELDER LLP
1660 W. 2nd Street, Suite 1100
Cleveland, OH 44113
jklarfeld@ubglaw.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
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SANDY OPACICH, CLERK OF COURT

Date; 93/24/2025 /s/ Christopher Blair

Signature of Clerk or Deputy Clerk

Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 20 of 30. PagelD #: 405

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.
1:25-cv-00561-SO

PROOF OF SERVICE
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On (date) ; Or
© I returned the summons unexecuted because : or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
here
Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 21 of 30. PagelD #: 406

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Ohio
RIK IOF Millennia Buck Portfolio, LLC; Lobo Feroz, )
LLC, and Jonaton Grassi )
)
)
Plaintiff(s)
V. ) Civil Action No. 1:25-cv-00561-SO
Brandegee Garden NY, LLC, et al. )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

Village Point NY, LLC

c/o Millennia Housing Development, Ltd.
4000 Key Tower, 127 Public Square
Cleveland, Ohio 44114

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Joshua A. Klarfeld

UB GREENSFELDER LLP
1660 W. 2nd Street, Suite 1100
Cleveland, OH 44113
jklarfeld@ubglaw.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

SANDY OPACICH, CLERK OF COURT

03/24/2025

Date: /s/ Christopher Blair

Signature of Clerk or Deputy Clerk

Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 22 of 30. PagelD #: 407

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.
1:25-cv-00561-SO

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)

On (date) ; Or

0 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

On (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) . who is

designated by law to accept service of process on behalf of (name of organization)

On (date) ; Or
© I returned the summons unexecuted because : or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 23 of 30. PagelD #: 408

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Ohio
RIK IOF Millennia Buck Portfolio, LLC; Lobo Feroz, )
LLC, and Jonaton Grassi )
)
)
Plaintiff(s)
Vv. ) Civil Action No. 1:25-cv-00561-SO
Brandegee Garden NY, LLC, et al. )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

Village Point NY MM, LLC

c/o Millennia Housing Development, Ltd.
4000 Key Tower, 127 Public Square
Cleveland, Ohio 44114

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Joshua A. Klarfeld

UB GREENSFELDER LLP
1660 W. 2nd Street, Suite 1100
Cleveland, OH 44113
jklarfeld@ubglaw.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

SANDY OPACICH, CLERK OF COURT

Date; 99/24/2025 /s/ Christopher Blair

Signature of Clerk or Deputy Clerk

Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 24 of 30. PagelD #: 409

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.
1:25-cv-00561-SO

PROOF OF SERVICE
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On (date) ; Or
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I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 25 of 30. PagelD #: 410

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Ohio
RIK IOF Millennia Buck Portfolio, LLC; Lobo Feroz, )
LLC, and Jonaton Grassi )
)
)
Plaintiff(s)
V. ) Civil Action No. 1:25-cv-00561-SO
Brandegee Garden NY, LLC, et al. )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

Millennia Housing Development, Ltd.
4000 Key Tower, 127 Public Square
Cleveland, Ohio 44114

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Joshua A. Klarfeld

UB GREENSFELDER LLP
1660 W. 2nd Street, Suite 1100
Cleveland, OH 44113
jklarfeld@ubglaw.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

SANDY OPACICH, CLERK OF COURT

Date: 99/24/2025 /s/ Christopher Blair

Signature of Clerk or Deputy Clerk

Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 26 of 30. PagelD #: 411

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.
1:25-cv-00561-SO

PROOF OF SERVICE
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On (date) , and mailed a copy to the individual’s last known address; or

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designated by law to accept service of process on behalf of (name of organization)

On (date) ; Or
© I returned the summons unexecuted because : or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 27 of 30. PagelD #: 412

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Ohio
RIK IOF Millennia Buck Portfolio, LLC; Lobo Feroz, )
LLC, and Jonaton Grassi )
)
)
Plaintiff(s)
V. ) Civil Action No. 1:25-cv-00561-SO
Brandegee Garden NY, LLC, et al. )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

Millennia Housing Management, Ltd.
4000 Key Tower, 127 Public Square
Cleveland, Ohio 44114

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Joshua A. Klarfeld

UB GREENSFELDER LLP
1660 W. 2nd Street, Suite 1100
Cleveland, OH 44113
jklarfeld@ubglaw.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

SANDY OPACICH, CLERK OF COURT

Date: 03/24/2025 /s/ Christopher Blair

Signature of Clerk or Deputy Clerk

Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 28 of 30. PagelD #: 413

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.
1:25-cv-00561-SO

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any)

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On (date) ; Or

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, a person of suitable age and discretion who resides there,

On (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) . who is

designated by law to accept service of process on behalf of (name of organization)

On (date) ; Or
© I returned the summons unexecuted because : or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 29 of 30. PagelD #: 414

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Ohio
RIK IOF Millennia Buck Portfolio, LLC; Lobo Feroz, )
LLC, and Jonaton Grassi )
)
)
Plaintiff(s)
V. ) Civil Action No. 1:25-cv-00561-SO
Brandegee Garden NY, LLC, et al. )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

Frank T. Sinito
6736 Eagle Mills Road
Willoughby, OH 440 4

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Joshua A. Klarfeld

UB GREENSFELDER LLP
1660 W. 2nd Street, Suite 1100
Cleveland, OH 44113
jklarfeld@ubglaw.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

SANDY OPACICH, CLERK OF COURT

Date: 99/24/2025 /s/ Christopher Blair

Signature of Clerk or Deputy Clerk

Case: 1:25-cv-00561-SO Doc #: 4 Filed: 03/24/25 30 of 30. PagelD #: 415

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 4:25-cy-00561-SO

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)

On (date) ; Or

0 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

On (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) . who is

designated by law to accept service of process on behalf of (name of organization)

On (date) ; Or
© I returned the summons unexecuted because : or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
